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The Honorable Marvin Isgur                                                                                                      Herbert Smith Freehills New York LLP
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                                                                                                                                Your ref


                                                                                                                                Date
                                                                                                                                May 08 2018




In re Erin Energy Corporation et al., Case No. 18-32106;
Response to Debtor's Motion for Interim and Final Orders Authorizing the Use of Cash Collateral

Dear Judge Isgur:
This firm represents Mauritius Commercial Bank Limited ("MCB") in connection with the above-
referenced proceeding, along with the related proceedings as to several entities affiliated with Erin
                                              1
Energy Corporation ("Erin," or the "Debtor"). We write in response to Erin's Emergency Motion for
Interim and Final Orders (I) Authorizing Use of Cash Collateral Pursuant to Section 363(c) of the
Bankruptcy Code; (II) Granting Adequate Protection for the Use Thereof; and (III) Scheduling a Final
Hearing Pursuant to Bankruptcy Rule 4001 as to Use of Cash Collateral. (Dk. No. 28, hereinafter the
"Motion"). As discussed in more detail below, the Motion should be continued until after the deadline to
submit written objections so that MCB has a fair opportunity to respond.
The Debtor filed the Motion on May 4, purportedly seeking "emergency" relief to obtain, and use as
operating capital, cash collateral that is held in a restricted account by MCB and over which MCB holds
a valid lien. Erin filed the Motion without prior notice to MCB, let alone any attempt to meet and confer
regarding the cash collateral on deposit with MCB. The Motion does not include the disclosure required
by Local Rule 4001-1(b), nor does it include the date by which relief is necessary to avoid the
consequences of the purported "emergency" as required by Local Rule 9013-1(i). The Motion states
that any objections must be filed within 24 days from the date of service. A hearing as to the Motion is
scheduled for May 9 at 10:45 a.m.



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    Those proceedings relate to Erin Energy Ltd. (Case No. 18-32107); Erin Energy Kenya Limited (Case No. 18-
    32108); and Erin Petroleum Nigeria Limited (Case No. 18-32109).
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Herbert Smith Freehills.

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Exchange House, Primrose Street, London EC2A 2EG.
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                                                              Date
                                                              May 08 2018
                                                              Letter to
                                                              The Honorable Marvin Isgur




As of the date of this letter, MCB has engaged Herbert Smith Freehills New York LLP to represent MCB
in connection with this bankruptcy proceeding. This firm is currently reviewing the Motion, as well as the
facts underlying the cash collateral currently held by MCB in a restricted account. MCB seeks the
opportunity to fully respond to the Motion, especially because the Erin has not shown that it will be able
to meet its burden of showing that MCB will receive adequate protection of its interest in the cash
collateral. Erin argues that a payment guarantee on the Pre-Export Finance Facility (the "Finance
Facility") alone provides adequate protection of the cash collateral pledged to MCB. Erin's argument
ignores the body of case law holding that an individual payment guarantee, standing alone, is not
sufficient adequate protection of a creditor's interest in cash collateral. See, e.g., In re C.F. Simonin's
Sons, Inc., 28 B.R. 707, 712 (Bankr. E.D.N.C. 1983) ("[T]he chance to pursue a guarantor with its
uncertainties and costs is not adequate protection."). Put simply, Erin would have the Court deprive
MCB of its bargained-for collateral protections without providing substitute collateral, a result that MCB
submits is contrary to law.
Further, we understand that Public Investment Corporation ("PIC"), the payment guarantor of the
Finance Facility, has agreed to purchase MCB's interest in the Finance Facility, including the funds in
the restricted account. The assignment of MCB's interest to PIC is expected to become effective on
May 9. Upon assignment of MCB's interest to PIC, Erin's argument that the payment guarantee
constitutes adequate protection will be even less convincing, as Erin cannot fairly argue that cash
collateral held by PIC is adequately protected by PIC's own payment guarantee.
MCB respectfully requests that consideration of the Motion be continued until after the deadline for the
filing of written objections. Such a continuance is not likely to prejudice the Debtors, especially given
that the Motion fails to state a date by which the "emergency" relief must be granted. MCB submits this
letter without prejudice to any jurisdictional defense it may raise.




                                           Respectfully Submitted,
                                           Herbert Smith Freehills New York LLP

                                                   /s/ Jonathan Cross
                                           Jonathan Cross, Esq.
                                           Attorneys for Mauritius Commercial Bank Limited




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